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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:12-CR-132

 v.                                                         HON. ROBERT HOLMES BELL

 JOSEPH MENCHACA,

             Defendant.
 ____________________________________/


                            MEMORANDUM OPINION AND ORDER

        Defendant Joseph Menchaca has filed a motion for modification or reduction of sentence

 (ECF No. 1405) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

 States Sentencing Guidelines, made retroactive by the Sentencing Commission.

        Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

 has been sentenced based on a sentencing range that has subsequently been lowered by the

 Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

 Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

 statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

 were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

        However, because the mandatory minimum sentence of imprisonment was imposed at

 sentencing, the Probation Office has now found Defendant ineligible for a reduction in sentence

 under Guideline Amendment 782. No objections have been filed to the Report of Eligibility within

 the time frame prescribed.
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        Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

 (ECF No. 1405) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




 Dated: January 16, 2015                     /s/ Robert Holmes Bell
                                             ROBERT HOLMES BELL
                                             UNITED STATES DISTRICT JUDGE
